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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

 RETHINK35, et al.                           §
                                             §
                 Plaintiffs,                 §
 v.                                          §
                                             §
 TEXAS DEPARTMENT OF                         §
 TRANSPORTATION,                             §
                                             §    CIVIL ACTION NO. 1:24-CV-00092-DII
                 Defendant.                  §
                                             §
                                             §
                                             §
                                             §

              MOTION TO WITHDRAW AS ATTORNEY OF RECORD

TO THE HONORABLE JUDGE OF THE DISTRICT COURT:

       COMES NOW, Defendant, Texas Department of Transportation (“TxDOT”),

and moves the Court to allow the withdrawal of its counsel, Aidan Read, and in

support thereof would respectfully show the following:


       1. Defendant requests that Aidan Read be withdrawn as attorney of record for

           Defendant.

       2. Defendant seeks an order granting his withdrawal as attorney of record for

           good cause as Aidan Read is no longer employed with the Transportation

           Division of the Office of the Attorney General.

       3. Defendant remains represented by the Texas Office of the Attorney General

           and Bates PLLC. Lisa McClain Mitchell, Matt Gamboa-Lutz, Luke Hill,

           and Ryan P. Bates will continue to represent Defendant in this matter.




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       4. This withdrawal of counsel is not made for reasons of delay, but so that

           justice may be done.


        WHEREFORE, PREMISES CONSIDERED, Defendant moves the Court for

an order permitting Aidan Read to withdraw as its counsel, and for such other and

further relief to which it may be justly entitled.



                                         Respectfully submitted,

                                         KEN PAXTON
                                         Attorney General of Texas

                                         BRENT WEBSTER
                                         First Assistant Attorney General

                                         RALPH MOLINA
                                         Deputy First Assistant Attorney General

                                         AUSTIN KINGHORN
                                         Deputy Attorney General for Civil Litigation

                                         NANETTE M. DINUNZIO
                                         Chief, Transportation Division


                                         /s/
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                                         ATTORNEYS FOR DEFENDANT,
                                         TEXAS DEPARTMENT OF
                                         TRANSPORTATION




                                CERTIFICATE OF SERVICE

      I certify that on March 14, 2025, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which will automatically notify via
email all counsel of record.


                                         _____________________________________
                                           /s/ Lisa McClain Mitchell
                                         LISA MCCLAIN MITCHELL
                                         ASSISTANT ATTORNEY GENERAL




Motion to Withdraw as Counsel
